
The Disciplinary Review Board having filed with the Court its decision in DRB 17-198, concluding that EDWARD HARRINGTON HEYBURN of EAST WINDSOR, who was admitted to the bar of this State in 1997, should be censured for violating RPC 1.15(a) (negligent misappropriation of client trust funds), RPC 1.15(d) and Rule 1:21-6 (recordkeeping violations), and good cause appearing;
It is ORDERED that EDWARD HARRINGTON HEYBURN is hereby censured; and it is further **81ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
